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                                                                                   Chris Daniel - District Clerk Harris County
                                                                                                     Envelope No. 25468853
                                                                                                            By: Joshua Bovell
                                                                                                    Filed: 6/21/2018 4:17 PM
                                     CAUSE NO. 2017-73050

INFINITY EMERGENCY                                 §                 IN THE DISTRICT COURT OF
MANAGEMENT GROUP, LLC                              §
                                                   §
                                                   §
                                                   §
v.                                                 §
                                                   §                     HARRIS COUNTY, TEXAS
                                                   §
NEIGHBORS HEALTH SYSTEM, INC.,                     §
NEIGHBORS HEALTH, LLC,                             §
NEIGHBORS INVESTMENT GROUP,                        §
                                                   §
LLC, NEIGHBORS GP, LLC, SETUL G.                   §
PATEL, M.D., PAUL ALLEYNE, M.D.,                   §
MICHAEL CHANG, M.D., ANDY CHEN,                    §
                                                   §
M.D., CYRIL GILLMAN, M.D., QUANG                   §
HENDERSON, M.D., DHARMESH                          §
PATEL, M.D., AND HITESH PATEL,                     §
                                                   §
M.D.                                                                     269TH JUDICIAL DISTRICT
     DEFENDANTS’ RESPONSE TO PLAINTIFF’S FIRST AMENDED MOTION TO
             COMPEL DEFENDANTS’ DISCOVERY RESPONSES

        Defendants Neighbors Health System, Inc. (“Neighbors Health”), Neighbors Health,

LLC (“Neighbors Health LLC”) and Neighbors GP, LLC (“Neighbors GP”) (collectively

“Defendants” or “Neighbors”) file this Response to Infinity Emergency Management Group,

LLC’s (“Infinity” or “Plaintiff”) First Amended Motion to Compel Defendants’ Discovery

Responses and would respectfully show the Court the following:

                                       I.      BACKGROUND

        1.     Plaintiff has a limited interest in the limited partner of a Series Limited Liability

Company (NHS Emergency Centers, LLC referred to herein as “NHS LLC”) and in particular a

limited interest in Series 114 Eastside (“Eastside”) and Series 115 Zaragoza (“Zaragoza”). See

Plaintiff’s Second Amended Petition and Exhibits, filed June 8, 2018. Plaintiff’s rights under the

contracts it tries to file suit over do not include the right to bring claims or lawsuits, but are

merely limited to a partial share in the profits or losses of the entity it has an interest in. Despite



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Plaintiff’s limited interest, Infinity filed suit against the manager of the Series LLC (Neighbors

Health) as well as the other Defendants for two items: (1) intercompany advances which Infinity

argues “violates the company documents” (see Plaintiff’s Second Amended Petition, ¶19) and

(2) cross collateralization of series assets which Infinity claims is “in further contravention of the

Series documents” (see Plaintiff’s Second Amended Petition, ¶30). In short, breach of contact.

         2.       Defendants do not deny the intercompany advances or the cross collateralization

occurred. Defendants’ position has been and will be the Series documents allow these actions,

and Plaintiff knew about the same. In short, there is no breach of any contract, and all Plaintiff’s

other claims are unfounded and unviable as a matter of law. While standing, capacity, the

contort doctrine and the economic loss rule1 are beyond the scope of this response (as are other

defenses), in order to determine the scope of proper discovery and what is reasonably calculated

to lead to the discovery of admissible evidence, the Court can and should evaluate Plaintiff’s

petition and see it for what it is:            at best a breach of contract case and as shown below

Defendants have produced the relevant documents surrounding the contracts.

                    II.      RELEVANT DOCUMENTS HAVE BEEN PRODUCED

         3.       Despite the legal bars to Plaintiff’s claims, and the objections to Plaintiff’s

requests, to date Defendants have produced over five thousand (5,000) pages of documents

(NEIGHBORS_INFINITY0001-005056), including the contracts for the formation of the

Eastside and Zaragoza series, the entire loan file for the financing and collateralization of all of

the series interests (including Eastside and Zaragoza) and the monthly financials of Zaragoza and

Eastside reflecting any transfers (even updating as they become available). In short, Plaintiff has

1
 Plaintiff’s standing to file suit is questionable as it has no injury independent from the limited partnership it has a
partial interest in. See Linegar v. DLA Piper LLP (US), 495 S.W.3d 276, 279 (Tex. 2016);Wingate v. Hajdik, 795
S.W.2d 717, 719 (Tex. 1990); Hall v. Douglas, 380 S.W.3d 860, 873-74 (Tex. App.- Dallas 2012, no pet.). Also,
Plaintiff’s tort claims must be denied ultimately because they are plead as the subject of an express written contract.
See MEMC Pasadena, Inc. v. Riddle Power, LLC, 472 S.W.3d 379, 397 (Tex.App.- Houston [14th Dist. 2015, no
pet); Chapman Custom Homes, Inc. v. Dallas Plumbing Co., 445 S.W.3d 716, 718 (Tex. 2014).
                                                           2
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the contracts it complains about, the loan documents it complains about and the financials to

show what was done with the money and when. Plaintiff has yet to provide a valid explanation

of why communications or the other discovery it seeks is relevant or that the same will lead to

the discovery of admissible evidence in this case. Defendants admit the intercompany transfers

and the cross collateralization. The why it was done is irrelevant. The question is do the

agreements allow this action.

            III.     PLAINTIFF’S DISCOVERY IS TOO BROAD/SEEKS IRRELEVANT
                                        INFORMATION

        4.          Plaintiff’s discovery is extensive and overly broad. See Infinity Exhibits A-E.

Defendants have repeatedly told Plaintiff the same. See Exhibit 1. Defendants also advised

Plaintiff it would consider search terms if Plaintiff would narrow the scope of its discovery. See

Exhibit 1.         Defendants have produced documents subject to these objections.       Instead of

narrowing the scope, Plaintiff used a shotgun blast of search terms (only provided June 4th) and

topics to seek every communication on an unlimited set of irrelevant topics. See Exhibit 1;

Infinity Exhibits A-E. Clearly dredging the lake in search of a fish is improper, and discovery

request should be specific and properly narrowly tailored to issues in a case. See Loftin v.

Martin, 776 S.W.2d 145 (Tex. 1989). Plaintiff’s requests are not. Other than claiming it has

made the requests, Plaintiff fails to explain to the Court why the requests (Production or

Interrogatories) it is seeking to compel the answers to are relevant, what issues in this case these

requests go to or if any response will reasonably lead to the discovery of admissible evidence on

a relevant topic.

        5.          On the flip side, the burden on Neighbors is extensive. Even after Defendants

asked Plaintiffs to narrow the request/search, Plaintiffs asked Defendants to search the computers

of no less than twelve (12) individuals, on a series of terms “including their derivations”. Exhibit

1. If the Court overrules Defendants’ objections, or requires any electronic search for terms in
                                                   3
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this fashion, at the very least there is good cause for the Court to impose the cost of this

discovery on Plaintiff. Tex.R.Civ.P. 196.6.

                   IV.      DEFENDANTS STAND ON THEIR OBJECTIONS

        6.     Defendants’ objections are not boilerplate. Plaintiff’s requests seek the same

improper information over and over. For example, “All communications” concerning the Series

or a particular topic is unlimited. Such requests could seek communications about the purchase

of medical supplies or pencils for the relevant location. Such requests are improper. The issues

apparently are the intercompany transfers and cross collateralization (which are admitted), and

that documentation has already been provided. There is no explanation on why the remaining

discovery is necessary. .

                              V.      CONCLUSION AND PRAYER

        For these reasons, Defendants respectfully request this Court to sustain all of their

objections to the discovery Plaintiff seeks to compel, deny Plaintiff’s motion to compel, in the

alternative impose the cost of discovery on Plaintiff and for such other and further relief, at law

and equity, to which Defendants may show themselves justly entitled.

                                                     Respectfully submitted,
                                                     PORTER HEDGES LLP

                                                     /s/ Clay M. Steely
                                                     Clay M. Steely
                                                     State Bar No. 00791725
                                                     1000 Main Street, 36th Floor
                                                     Houston, Texas 77002
                                                     Telephone: (713) 226-6669
                                                     Facsimile: (713) 226-6269
                                                     csteely@porterhedges.com
                                                     ATTORNEYS FOR DEFENDANTS




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                               CERTIFICATE OF SERVICE

       Pursuant to the Texas Rules of Civil Procedure, I hereby certify that on June 21, 2018, a
true and correct copy of the foregoing instrument was served on all counsel of record in
accordance with the Texas Rules of Civil Procedure.


                                            /s/ Clay M. Steely
                                            Clay M. Steely




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Steely, Clay M.

From:                                Steely, Clay M.
Sent:                                Friday, May 25, 2018 2:00 PM
To:                                  Benjamin Hisey (bhisey@hchlawyers.com)
Subject:                             Infinity: Clarification to Written Discovery per 5/21/18 Conference- Steely Response-
                                     Document Production NEIGHBORS_IN FINITYOO47S7-004800
Attachments:                         NEIGHBORS_IN F1N1TY004757.pdf; NEIGHBORS_IN FINITYOO4788.pdf;
                                     NEIGHBORS_INfINITYOO4789.pdf; NEIGH BORS_INFINITYOO4793.pdf



Ben-

In response to your e-mail, note the following:

    1.      Intracompany Transfer Interrogatories: I think I have some clarity for you on this. In summary, this was a cash
            management process. At each overhead transfer date, cash at each center was reviewed and centers who
            didn’t have enough cash in the bank to cover that particular day’s overhead needs were subsidized on a pro rata
            basis by all remaining centers who had excess cash on hand. Transfers were made from centers when there
            were bills that needed to be paid, not on any regular schedule. Also, no center directly subsidizes another
            center. It flowed to and from EDMG. Furthermore, there is no approval before the transfers are made. The
            process is in place and is followed by the accountant responsible for making cash transfers. This process has
            apparently been explained to all the series investors before. I have attached a Financial Update which was
            presented at the February 2017 Investors’ Conference which gives a good explanation starting with the section
            on Intracompany Advances, and in particular on the slide entitled Intracompany Flow of Cash
            (Neighbors_Infinity 004774). I think this answers your questions. If you need more than this, let me
          know.
       2. Production Requests: As mentioned in the call, if you get me a list of custodians whose computers you want me
          to search and a list of search terms, I’ll review and see what my client says. But we cannot just do a
          companywide search on everybody’s computer for all the topics and issues in your email. Please send the list
          we discussed. Again, I am willing to look at items that are narrowly and specifically tailored and to try to work
          with you on this front. It seems Infinity take issue with the transfers and the cross collateralization, so that may
          be a place to start thinking about search terms.
       3. Company meeting/minutes: I have asked the client to look at the meeting minutes, etc. for the terms
          “Zaragoza” and “Eastside”. If something responsive is found, it will be produced. These are in one location.
       4. Financials- We were both right- there is only one set of financials (for the LP) for each location.
       5. Draft Zaragoza and Eastside Agreements- Although these do not seem relevant as the agreements’ plain
           language control (to date no one has plead ambiguity), I have asked my client to look into this. Apparently these
           agreements were entered into when the company did not have a formal internal legal department (it used
           outside counsel) and emails from that time period on this appear not to be available (the law firm closed its
           doors when Mr. Gruenert became in-house counsel). But we are looking and will amend with any draft
           agreements it found/available. I assume you have conducted a similar search on your end? If you could point
           me in the right direction date wise, or who was involved, it may help the search on our end.

 I think this covers the issues we discussed. Send me the custodian list and the search terms and we can take it from
 there. Have a good Memorial Day weekend. I am out the door for the same.

 Regards,

 Clay
                                                   t      EXHIBIT
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 PORTER
    HEDGESLLP
 Clay M. Steely
 Partner                        Porter Hedges LLP
 csteely@porterhedges.com       1000 Main Street, 36th Fl.
 t (713) 226-6669               Houston, Texas 77002
 ff713) 226-6269                www.porterheuges.com


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any penalties under the Internal Revenue Code or (ii) to promote, market or recommend to another party the tax
consequences of any matter addressed herein and therein. Please contact us if you desire an opinion on such matters.

From: Benjamin Hisey [ma ilto: bhisey@ihchlawyers.com]
Sent: Tuesday, May 22, 2018 9:31 AM
To: Steely, Clay M.; Karma Garza
Cc: Trey Hendershot; Katie Cowart; Ryan Bill
Subject: Clarification to Written Discovery per 5/21/18 Conference

Clay,

          I appreciate you taking the time to work through the discovery yesterday. In furtherance of that call, below you
will find my annotations to the discovery served by Plaintiff in an attempt to narrow the scope of the discovery
issues. Once you have had a chance to review the annotations below please let me know if you have any questions.

October 30, 2017 Interrogatories

     •       It is my understanding that the Defendants will be amending their response to Interrogatory 2 to include the
            dates of transfers, the amounts of transfers, where the transfers were sent as well as who authorized the
            transfers.

May 11, 2018 Interrogatories

        •   Plaintiff will stand on Interrogatories 3-6 as drafted
                o These questions go to the decision making process behind the Intercompany Transfers and how funds
                     were earmarked for transfer to other Series, LP5 or business ventures of Defendants

 May 11, 2018 Requests for Production

        •    Requestsland2
               o Interested in communications among the officers, directors, members and managers of Neighbors Health,
                  LLC and any other defendant to the Litigation
               o Subject Matter
                       • The business generated by NEC Zaragoza and NEC Eastside Emergency Centers and its profitability
                       • How daily business decisions were made including who made them
                       • Discussions/conversations regarding the financing of NEC Zaragoza and NEC Eastside Emergency
                           Centers and the servicing of any debt allocated to those centers
                                                                2
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          • Discussions/conversations regarding correspondence from any financing institution or lender
              group regarding the payment, acceleration or delinquency of any debt allocated to NEC
              Zaragoza and NEC Eastside Emergency Centers
          • Discussions/conversations regarding correspondence from any financing institution or lender
              group regarding the payment, acceleration or delinquency of any debt allocated to any other
              Emergency Center managed by Defendant and secured by the assets of NEC Zaragoza and NEC
              Eastside Emergency Centers
          • Discussions/conversations regarding the management of the assets of NEC Zaragoza and NEC
              Eastside Emergency Centers by the Manager
          • Discussions/conversations regarding the allocation of the revenue generated by NEC Zaragoza and
              NEC Eastside Emergency Centers to any other Emergency Center or business venture of
              Defendants
          • Discussions/conversations regarding the distinction, if any, of revenue generated by NEC Zaragoza
              and NEC Eastside Emergency Centers and the determination of Series Property
           • Discussions/conversations regarding the repayment of any Intercompany Advances to NEC
              Zaragoza and NEC Eastside Emergency Centers by any other Emergency Center managed by
               Defendant

Requests 3 and 4
   o Interested in communications among the officers, directors, members and managers of Neighbors Health,
      LLC and any other defendant to the Litigation
   o Subject Matter
           • How Series Property was defined based on revenue generated by NEC Zaragoza and NEC Eastside
               Emergency Centers
           • How Series Property was allocated to the Series (114 and 115) and/or NHS Emergency Centers,
               LLC
           • Discussions/conversations regarding the movement of funds from NEC Zaragoza and NEC Eastside
               Emergency Centers to Series 114 and 115
           • Discussions/conversations regarding the repayment of any Intercompany Advances to Series 114
               and 115 from any other Series managed by Defendant
           • Discussions/conversations regarding the diversion of the Series Property of Series 114 and 115 to
               any Series or Emergency Center other than Series 114 and 115

Requests 5 and 6
   o Interested in communications among the officers, directors, members and managers of Neighbors Health,
      LLC and any other defendant to the Litigation
   o Subject Matter
           • How distribution amounts to Plaintiff were determined
           • How the timing of distributions to Plaintiff were determined
           • Discussions/conversations regarding the reductions or withholding of any distributions to Plaintiff
           • Discussions/conversations regarding the withholding of distributions to Plaintiff based on
               demands from any financing institution or lender group

Request 7
   o Interested in communications among the officers, directors, members and managers of Neighbors Health,
      LLC and any other defendant to the Litigation
   o Subject Matter
           • Discussions/conversations regarding the decision to create any other Series of NHS Emergency
               Centers, LLC
           • Discussions/conversations regarding how any new Series and its Series Business would be financed
               or financially supported
           • Discussions/conversations of how new Series would be linked to new Emergency Centers
                                                   3
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•       Requests8and9
          o Interested in communications among the officers, directors, members and managers of Neighbors Health,
             LLC and any lender group or financial institution
          o Subject Matter
                  • Discussions/conversations with any lender group or financial institution concerning the creation of
                      any new Series and associated Emergency Center
                  • Discussions/Conversations how new Series will be owned/controlled
                  • How any new Series and its Series Business will be financed
                  • How the financing of any new Series and its Series business will be secured for the benefit of any
                      lender group or financial institution

•       Request 11
           o Interested in communications among the officers, directors, members and managers of Neighbors Health,
              LLC and any other defendant to the Litigation
           o Subject Matter
                   • Discussions/conversations regarding the decision to close any Series of NHS Emergency Centers,
                       LLC and its Series Business
                   • Discussions/conversations regarding the decision to allocate the resources, finances and assets of
                       any closed Series and Series Business to any other Series or Emergency Center managed by
                       Defendant

•       Request 21-23
           o Subject Matter
                   • Decisions, consents and corporate minutes pertaining to Series 114 and 115
                   • Decisions, consents and corporate minutes pertaining to NEC Zaragoza and NEC Eastside
                       Emergency Centers
                   • Decisions, consents and corporate minutes pertaining to the creation of any new Series of NHS
                       Emergency Centers, LLC
                   • Decisions, consents and corporate minutes pertaining to the creation of any new Emergency
                       Center managed by Defendant and linked to any Series of NHS Emergency Center, LLC
                   • Decisions, consents and corporate minutes pertaining to Intercompany Advances directed to or
                       coming from Series 114 or 115
                    • Decisions, consents and corporate minutes pertaining to Intercompany Advances directed to or
                       coming from NEC Zaragoza and NEC Eastside Emergency Centers
                    • Decisions, consents and corporate minutes pertaining to the financing of any Series of NHS
                       Emergency Centers, LLC or any Emergency Center linked to such Series

         Requests 24-25
            o Plaintiff is requesting the Excel breakdown not just the .pdf forms
                    • Zaragosa- Full year 2015 (Requesting Excel Detailed breakdown)
                    • Edgemere- Full year 2015 (Requesting Excel Detailed breakdown)
                    • Zaragosa- Full year 2017 (Requesting Excel Detailed breakdown)
                    • Edgemere- Full year 2017 (Requesting Excel Detailed breakdown)

    •    Request 26 and 27
            o How were Series 114 and 115 financed
            o How was that financing secured
            o How were NEC Zaragoza and NEC Eastside Emergency Centers involved in the financing/security
            o Discussions/conversations with any lender group or financial institution regarding the security for any
                newly formed Series of NHS Emergency Centers, LLC or its Series Business

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             o Discussions/conversations with any lender group or financial institution regarding the collateralization of
                any other Series or Series Business to support the creation of any new Series or Emergency Center

         Plaintiff reserves the right to amend/supplement these points. Plaintiff further reserves the right to address any
request or interrogatory not explicitly identified here and the decision to not address such request or interrogatory here
shall not constitute a waiver of Plaintiffs rights to those requests.

        If you foresee a problem with Defendant’s ability to produce documents pursuant to these requests by June 4,
2018 please let me know.

         I look forward to hearing from you.

Sincerely,

Benjamin L. Hisey
Partner


}- {J .LJ          Hendershot
                   Cannon & Hisey,             RC.

7800 Bering Drive, Suite 600
Houston, Texas 77057
T: (713) 783-3110
F: (713) 783-2809
www.hcmhlaw.com




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Steely, Clay M.

From:                                    Benjamin Hisey <bhisey@hchlawyers.com>
Sent:                                    Monday, June 04, 2018 10:20 AM
To:                                      Steely, Clay M.
Cc:                                      Trey Hendershot; Karma Garza; Katie Cowart; Ryan Bill
Subject:                                 Infinity v. Neighbors Discovery Search Terms


Clay,

          Below is an initial list of the custodians and search terms as we have discussed. Plaintiff does not represent
that this is an exhaustive list and reserves the right to supplement these custodians and search terms as additional
documents/materials are identified and produced. I also note from the May 31, 2018 correspondence from Jay
Munisteri that Neighbors is taking the position that it is in the care, custody and control of responsive materials as they
exist on the computers and phones of the custodians/parties identified below.

         Once you have had a chance to review the terms below please let me know if you have any questions. I would
ask that you begin providing documents in a rolling fashion as you have been doing previously in this matter. Please
provide these materials as soon as possible but in any event no later than close of business, June 14, 2018.

Custodians (and derivations of their names)

        •       Setul G. Patel, M.D.,
        •       Paul Alleyne, M.D.,
        •       Michael Chang, M.D.,
        •       Andy Chen, M.D.,
        •       Cyril Giliman, M.D.,
        •       Quang Henderson, M.D.,
        •       Dharmesh Patel, M.D.,
        •       Hitesh Patel, M.D.

        •       John Decker
        •       Patrick Hilton
        •       TensieAxton
        •       Chad Shandler


 Search Terms (as they pertain to Zaragoza; Eastside; infinity Emergency Management Group; NEC Zaragoza Emergency
 Center; NEC Eastside Emergency Center and amongst the custodians as identified above)

 These terms shall include their derivations. I have included some of those derivations here, though the list is not
 exhaustive.

        •        Intercompany Advance
                     o Advances
                     o Company Advances
                     o Intercompany Loans
            •    Series Property
                     o SP
            •    Series Business
                                                                    1
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          o SB
  •    Distributions
          o Disbursements
          o Dividends
  •    Closure of NEC Zaragoza Emergency Center
          o Closure Zaragoza
          o Zaragoza EC
          o Closure NEC Zaragoza
  •    Neighbors Investment Group
          o NIG
          o Neighbors
  •    Neighbors Health
           o NH
  •    Manager
  •    Cash Management
           o Financial Management
   •   Notes Payable-Intercompany
           o Notes
           o Payments
           o Debts
   •   Operating Profits
   •   “support newer facilities”
   •    Presentations
           o To prospective investors
           o PowerPoints



Benjamin L. Hisey
Partner


Fj     T- -ij Cannon & Hisey, ic.
1800 Bering Drive, Suite 600
Houston, Texas 77057
T: (713) 783-3110
F: (713) 783-2809
www.hcmhlaw.com




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